Case 5:10-cv-00809-VAP-OP Document 200-1 Filed 07/30/19 Page 1 of 3 Page ID #:3493




    1 SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
        PAUL S. COWIE, Cal. Bar No. 250131
    2 pcowie@sheppardmullin.com
        379 Lytton Ave.
    3 Palo Alto, California 94301
        Telephone: 650.815.2600 Facsimile: 650.815.2601
    4
        SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
    5 JOHN D. ELLIS Cal. Bar No. 269221
        jellis@sheppardmullin.com
    6 CORINNE K. HAYS Cal. Bar No. 248576
        chays@sheppardmullin.com
    7 Four Embarcadero Center, 17th Floor
        San Francisco, California 94111-4109
    8 Telephone: 415.434.9100 Facsimile: 415.434.3947
    9 SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
        ROBERT MUSSIG, Cal. Bar No. 240369
   10 rmussig@sheppardmullin.com
        333 South Hope Street, 43rd Floor
   11 Los Angeles, California 90071-1422
        Telephone: 213.620.1780 Facsimile: 213.620.1398
   12
        Attorneys for Defendants SWIFT TRANSPORTATION CO.
   13 OF ARIZONA, LLC, and SWIFT TRANSPORTATION COMPANY
   14
                                    UNITED STATES DISTRICT COURT
   15
                                  CENTRAL DISTRICT OF CALIFORNIA
   16
        JAMES R. RUDSELL,                         Case No. 5:12-cv-00692 VAP OP; and
   17                                             Case No. 5:10-cv-00809-VAP-OP
                          Plaintiffs,
   18                                             Hon. Virginia A. Phillips
                 v.
   19                                             DECLARATION OF ROBERT
      SWIFT TRANSPORTATION                        MUSSIG IN SUPPORT OF
   20 COMPANY OF ARIZONA, LLC, et al.             DEFENDANTS’ REPLY TO
                                                  LAWRENCE PECK’S
   21                     Defendants.             OBJECTIONS TO PLAINTIFFS’
                                                  MOTION FOR PRELIMINARY
   22            and                              APPROVAL OF THE PARTIES’
                                                  CLASS ACTION SETTLEMENT
   23 JOHN BURNELL, et al.
                                                  Date of Hearing: July 8, 2009
   24                     Plaintiffs,             Time:            2:00 p.m.
                                                  Room:            8A – First Street
   25            v.
   26 SWIFT TRANSPORTATION
        COMPANY OF ARIZONA, LLC
   27
                          Defendant
   28
        5:12-cv-00692 VAP (OPx)                  -1-
        SMRH:4842-6518-0827.1                                 DECLARATION OF ROBERT MUSSIG
Case 5:10-cv-00809-VAP-OP Document 200-1 Filed 07/30/19 Page 2 of 3 Page ID #:3494




    1            1.       I am an attorney licensed to practice law in the State of California. I
    2 am a partner at Sheppard, Mullin, Richter & Hampton LLP, counsel of record for
    3 Defendants Swift Transportation Co. of Arizona LLC and Swift Transportation
    4 Company in this consolidated action and in the actions filed by Mr. Peck against
    5 Defendants. I make this declaration based on my own personal knowledge. If
    6 called upon to testify to the facts set forth below, I could and would competently do
    7 so.
    8            2.       Mr. Peck is currently prosecuting two separate actions against
    9 Defendants: a state court action asserting a single cause of action under the Private
   10 Attorneys General Act (PAGA) and a proposed class action lawsuit currently
   11 pending in this Court. Mr. Peck has argued time and again in his state court PAGA
   12 case that he does not have sufficient discovery to try his case or properly value his
   13 claims. He has argued that he requires time, pay and other data applicable to all
   14 drivers in order to effectively try the case. Defendants have not produced this data
   15 and have vigorously opposed Peck’s efforts to obtain the data as it would cost
   16 Defendants millions of dollars to do so. Based on my communications with Mr.
   17 Peck’s attorneys, I understand the primary reason Mr. Peck and his lawyers agreed
   18 to a trial continuance in the state court PAGA case is that they do not believe they
   19 have sufficient discovery to go to trial.
   20            3.       The stipulated settlement agreement in this matter was executed in May
   21 2019. Prior to that date, the parties engaged in extensive negotiations, including
   22 attendance at a mediation in April 2018, to come to mutually acceptable, reasonable
   23 and fair settlement terms. During this time period, Defendants were also exploring
   24 settlement with Objector Lawrence Peck and his counsel.                   In part because
   25 discussions with the Rudsell/Burnell lawyers were dragging on, Defendants were
   26 absolutely willing to explore a settlement with Peck and his lawyers under the right
   27 conditions, including settlement on an individual basis. However, while at various
   28 times Mr. Peck and his lawyers have generally indicated a range where their
      5:12-cv-00692 VAP (OPx)             -2-
        SMRH:4842-6518-0827.1                                       DECLARATION OF ROBERT MUSSIG
Case 5:10-cv-00809-VAP-OP Document 200-1 Filed 07/30/19 Page 3 of 3 Page ID #:3495




    1 opening settlement demand might fall, neither he nor his lawyers have ever made a
    2 concrete settlement demand to Defendants supported by any sort of analysis or
    3 evidence.
    4            4.       As required by the Class Action Fairness Act (CAFA), Defendants
    5 delivered notices of the parties’ settlement to the United States Attorney General
    6 and each state attorney general in which a class member resides within 10 days of
    7 Plaintiffs filing the motion for preliminary approval.         As part of that notice,
    8 Defendants included the names and states of residence for each potential class
    9 member, and an analysis of the class by state of residence. Attached hereto as
   10 Exhibit 1 is the analysis of the class by state of residence included in the CAFA
   11 notice, which provides that the class consists of 19,626 members.
   12                     I declare under penalty of perjury under the laws of the State of
   13 California that the foregoing is true and correct.
   14            Executed on June 24, 2019, at Los Angeles, California.
   15
   16
                                                                Robert Mussig
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28
        5:12-cv-00692 VAP (OPx)                     -3-
        SMRH:4842-6518-0827.1                                    DECLARATION OF ROBERT MUSSIG
